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UN1TED STATES DIS'I`RICT COURT
SOUTHERN DISTRICT OF THE STATE OF CAL[FORNIA

KINGRAY, INC. d/b/a THE BEER HUNTER, ) CASE NO.
a California corporation; DANRAY, INC. d/b/a) /

 

THE BEER HUNTER, a South Dakota ) ’00 Cv 1 5 145 J_M (|_AB_`;

corporation; RAYBAN, INC. d/b/a THE BEER)

HUNTER, a South Dakota corporation; and ) CLASS ACTION
BOBRAY RESTAURANTS, INC. d/b/a THE ) COMPLAINT FOR VIOLATIONS OF
BEER HUNTER, a Califomia corporation; ) THE SHERMAN ACT, CLAYTON
GARRETT CRAYTON, an individual', IILL ) ACT, AND CAL[FORNIA BUSINESS
MILLER1 an individual; ) & PROFESSIONS CODE AND

) DEMAND FOR J'URY TRIAL

Plaintif’f`s, )

)
vs. )

)
NATIONAL BASKETBALL ASSOCIATION, )

INC., a New York corporation; NBA )
PROPERTIES, INC., a New York corporation',)
CBLS CORPORATION dfb/a CH]CAGO )
BULLS, an Illinois corporation; LAC )
BASKETBALL CLUB, INC. d/b/a LOS )
ANGELES CLIPPERS, a Cajifomia )
corporation; ROYAL KINGS LIMI'I`ED )
PAR'I'NERSHIP d/b/a SACRAMENTO )
KINGS, a Califomia limited partnership; NEW )
YORK KNTCKERBOCKERS, INC. d/b/a/ )
NEW YORK KNICI(S, a New York )
corporation; 'I'HE LOS ANGELES LAKERS, )
INC. dfb/a/ LOS ANGELES LAKERS, a )
California corporation; JAZZ BASKETBALL )
INVESTORS, INC. d/b/a THE UTAH JAZZ, a)
Utah corporation', TRAIL BLAZERS, INC. )
d/b/a PORTLAND TRAILBLAZERS, an )

 

CLASS ACTION COMPLAIN'I` \

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Oregon corporation; and DIRECTV, INC_, a
Califomia corporation;

Def`endants.

 

Plaintifl`s, individually and on behalf of the members of the classes described below, bring
this antitrust class action for damages and declaratory and injunctive relief under the antitrust laws
of the United States and the State of Califomia and under the unfair competition laws of the State
of Califomia against the above-named Defendants. The allegations pertaining to Plaintilfs and their
purchase of the “NBA League Pass” are made upon personal knowledge The remaining
allegations in this Complaint are made on information and belief based upon investigations
conducted by Plaintiffs’ counsel Plaintift`s allege as follows:

I.
M..QM

l. This lawsuit seeks to remedy a continuing contract, conspiracy, and agreement in
restraint of trade and commerce in violation of Section 1 of the Sherman Act and also seeks to
remedy conduct by Defendant co-conspirators, which by constraining market forces, has resulted in
the creation of a monopoly in violation of Section 2 the Sherman Act. Such conduct is also in
violation of the California Cartwright Act and Califomia’s Unfair Competition Laws. Defendant
basketball league, Defendants professional basketball teams, Det`endant pay television provider, and
others have conspired to sell the “NBA League Pass,” an exclusive sports package described in
more detail below, to consumers for a fixed fee and have restricted output of live video broadcasts
of NBA games in non-exempt channels of distribution

II.
'I`HE PARTIES

2. PlaintiffKingray, Inc. dfb/a The Beer Hunter is a commercial entity doing business
in Riverside County, California, which purchased the NBA League Pass in the State of California

and the United States of America during the Class Period for the enjoyment of its patrons

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CLASS ACTION COMPLAIN'I` 343356.2

 

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l 3. Plaintii’f Danray, Inc. d/b/a The Beer Hunter is a commercial entity doing business in
Riverside County, Califomia, which purchased the NBA League Pass in the State of California and
the United States of America during the Class Pen`od for the enjoyment of its patrons.

4. Plaintiff Rayban, Inc. dfb/a The Beer Hunter is a commercial entity doing business in
Riverside County, California, which purchased the NBA League Pass in the State of California
and the United States of Amen`ca during the Class Pen'od for the enjoyment of its patrons

5. Plaintiff Bobray Restaurants, lnc. d/b/a The Beer Hunter is a commercial entity
doing business in Riverside County, California, which purchased the NBA League Pass in the State
of California and the United States of America during the Class Period for the enjoyment of its
patrons

6. Plaintiffs Garrett Crayton and Jill Miller, husband and wife, are individuals and
residents of Imperial County, Califomia, who purchased the NBA League Pass within the State of
Califomia and the United States of America during the Class Period.

7. Defendant National Basketball Association, lnc. (hereinafter “NBA“) is a New York
corporation with its principal place of business at 645 5“‘ Avenue 14101 New York, New 't’orlc.

8. Defendant NBA Properties, Inc. is a corporation, maintaining its principal place of
business at 645 Filth Avenue, New York, New York.

9. Defendant CBLS Corporation d/b/a Chicago Bulls (hereinafter “Bulls”) is a
professional basketball organization and corporation, incorporated under the laws of the State of
Illinois, with its principal place of business at 1901 West Madison Street, Chicago, Illinois 60612.

lO. Defendant LAC Basketball Club1 Inc_ d/b/a Los Angeles Clippers (hereinalter
“Clippers”) is a professional basketball organization and corporation, incorporated under the laws
of the State of California, with its principal place of` business at 3939 South Figueroa Street, Los
Angeles, CA 90037.

 

CLASS ACTION COMPLAINT 343356.2

 

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ll. Defendant Royal Kings Limited Partnership d/b/a Sacramento Kings (hereinaiter
“Kings”) is a professional basketball organization and limited partnership, registered under the laws
of the State of Califomia, with its principal place of business at 2613 Arbury Court, Sacramento,
CA 95833.

12. Defendant New York Knickerbockers, Inc. dfb/a/ New York Knicks (hereinalter
“Knicks”) is a professional basketball organization and corporation, registered under the laws of the
State of New York, with its principal place of business at Two Pennsylvania Plaza New York, NY
10121.

13. Defendant The Los Angeles Lakers, lnc. d/b/a/ Los Angeles Lakers (hereinafter
“Lakers”) is a professional basketball organization and corporation, registered under the laws of the
State of California, with its principal place of business at 3900 West Manchester Boulevard,
Inglewood, CA 90305.

14. Defendant Jazz Basketball Investors, lnc. d/b/a The Utah Jazz (hereinafter “Jazz”) is
a professional basketball organization and corporation, registered under the laws of the State of
Utah, with its principal place of business at 5650 South State Street, Murray, Utah 84107.

15. Defendant Trail Blazers, Inc. dfb/a Portland Trailblazers (hereinalter “Trailblazers”)
is a professional basketball organization and corporation, registered under the laws of the State of
Oregon, with its principal place of business at One Center Coult, Suite 200, Ponland, Oregon
97227.

16. Defendant DirecTV, lnc. is a corporation, registered under the laws of Ca|ifomia,
with its principal place of business at 2330 East Imperial Highway, El Segundo, CA 90245.

17. The acts charged in this Complaint were authorizedl directed, or executed by
Defendants and their co-conspirators or their officers, agents, employees, or representatives while
actively engaged in their course of business

18_ At all times relevant, Defendant DirecTV, lnc. acted as an agent of Defendants
NBA and/or NBA Properties, Inc_, and was authorized and/or controlled by those Defendants to

sell residual live television rights held by the NBA and/or NBA Properties, lnc. as agents for the

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CLASS AC'I`ION COMPLA]NT 343356.2

 

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individual professional basketball teams and owners of the NBA, including the rights to sell “NBA
League Pass”

19. At all times relevant, Defendants NBA and/or NBA Properties, Inc. acted as an
agent of the individual professional basketball teams and owners of the NBA and were authorized
by said teams and owners to sell “NBA League Pass”

lII.
CLASS ALLEGATIONS

 

20. Plaintiff Garrett Crayton (“Crayton”) and Plaintiff Jill Miller (“Miller”) each bring
this action on their individual behalf and on behalf of all persons similarly situated The class
Plaintiffs Crayton and Miller represent is composed of all persons who purchased the “NBA League
Pass” in a jurisdiction subject to the laws of the United States of Amen'ca during the Class Period
(hereinafter “Class A”). The persons in the class are so numerous that thejoinder of all such
persons is impracticable and the disposition of their claims in a class action will benefit the parties
and the Court.

21. Plaintiffs Crayton and Miller each further bring this action on their individual behalf
and on behalf of all persons similarly situated as a subclass The subclass Plaintiifs represent is
composed of all persons who purchased the “NBA League Pass” in a jurisdiction subject to the
laws of the State of Califomia during the Class Period (hereina&er “Class A"’). The persons in the
class are so numerous that thejoinder of all such persons is impracticable and the disposition of
their claims in a class action will benefit the parties and the Court.

22. Plaintiffs Kingray, lnc. dfb/a The Beer Hunter; Danray, Inc. dfb/a The Beer Hunter;
Rayban, Inc. d/b/a The Beer Hunter; and Bobray Restaurants, Inc. dfb/a The Beer Hunter
(hereinafter collectively “The Beer Hunters”), each bring this action on their individual behalf and
on behalf of all persons and entities similarly situated The class The Beer Hunters represent is
composed of all persons and entities which have purchased the commercial package of the “NBA
League Pass” in ajurisdiction subject to the laws of the United States of Amen'ca during the Class

Period (hereinafter “Class B”). The persons and entities in the class are so numerous that the

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CLASS ACTION COMPLAINT 343356.2

 

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joinder of all such entities is impracticable and the disposition of their claims in a class action will
benefit the parties and the Court.

23. Plaintilfs Kingray, lnc. d/b/a The Beer Hunter; Danray, Inc. d/b/a The Beer Hunter;
Rayban, lnc. d/b/a The Beer Hunter; and Bobray Restaurants, Inc. d/b/a The Beer Hunter each
further bring this action on their individual behalf and on behalf of all persons and entities similarly
situated as a subclass The subclass The Beer Hunters represent is composed of all persons and
entities which have purchased the commercial package of the “NBA League Pass” in a jurisdiction
subject to the laws of the State of Califomia during the Class Period (hereinafter “Class B"’). The
persons and entities in the class are so numerous that the joinder of all such entities is impracticable
and the disposition of their claims in a class action will benefit the parties and the Court.

24. There is a well-defined community of interest in the questions of law and fact
affecting each of the named Classes1 including but not limited to (a) whether Defendants and their
co-conspirators engaged in a conspiracy to fix, raise, maintain, and/or stabilize the prices of “NBA
League Pass” in the United States', (b) whether Defendants’ conduct illegally restricted the output
of live video broadcasts of NBA games in non-exempt channels of distribution; (c) whether
Defendants’ conduct caused the prices of “NBA League Pass” sold in the United States to be at
artificially high and non-competitive levels; and (d) whether Plaintiff and other members of the class
were injured by Defendants’ conduct and, if so, whether damages and declaratory and injunctive
relief is appropriate These questions predominate over questions that affect only individual class
members

25. The claims of Plaintif’r`s Crayton and Miller are typical of those of Class A and
Plaintiffs Crayton and Miller will fairly and adequately represent the interests of the class. The
claims of Plaintiffs Crayton and Miller are also typical of those of Class A‘ and Plaintiffs Crayton
and Miller will fairly and adequately represent the interests of the subclass

26. The claims of The Beer Hunters are typical of those of Class B and those Plaintili`s

will fairly and adequately represent the interests of` the class The claims of The Beer Hunters are

 

CLASS ACTION COMPLAINT 343356.2

 

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also typical of those of Class B‘ and those Plaintiffs will fairly and adequately represent the interests
of the subclass

27. The prosecution of individual remedies by members of the named Classes would
tend to establish inconsistent standard of conduct for the Defendants and to result in the impairment
of the class members’ rights and the disposition of their interests through actions to which they
were not parties However, as Defendants have acted on grounds generally applicable to all

classes, final injunctive relief and/or corresponding declaratory relief with respect to the classes are

appropriate
IV.
MQ.NM
28. This Complaint was filed and these proceedings instituted under the Clayton Act for
violations of the Sherman Act, 15 U.S.C. §§ 15 and 26, the Cartwright Act, Cal. Bus & Prof. Code

§ 16700, et seq., and the Unfair Competition Act, Cal. Bus. & Prof. Code § 17204, to obtain
damages and declaratory and injunctive relief against Defendants for the injuries Plaintiffs and class
members sustained by reason of violations of the various state and federal laws

29. Jurisdiction in this Court is proper under 28 U.S.C. §§ 1331, 1337, and 1367.

30. The conspiracy charged in this Complaint, either directly or through interstate
commerce/trade was carried out, at least in part, in the Southem District of Califomia All named
Defendants transact business and/or can be found doing business in this District. Certain of the
unlawf`ul, unfair, and/or fi'audulent business practices alleged herein were performed or had effects
in this judicial district Venue is, therefore, proper under 28 U.S.C. § 1391, 15 U.S.C. § 22, and
Cal. Bus. & Prof. Code § l6750(a).

V.
STATUTORY BACKGROUND
A. Federal Antitrust Laws
31. The Sherman Act, 15 U.S.C. §§ 1-7, protects trade and commerce against unlale

restraints and monopolies Section l prohibits contracts and conspiracies seeking to restrain trade

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Section 2 prohibits monopolies of trade and/or commerce and conspiracies to monopolize trade
and/or commerce Violations of the Sherman Act are remedied through the criminal justice system

32. The Clayton Act, 15 U.S.C. §§ 12-27, provides for private enforcement of the
provisions of the Sherman Act. Persons injured as a result of Sherman Act violations may receive
treble damages and attorneys’ fees 15 U.S.C. § 15. Additional|y, any “person, firm corporation,
or association" may seek an injunction concerning Sherman Act violations 15 U.S.C. § 27.

33. Prior to the enactment of the Sports Broadcasting Act (“SBA”), collective
agreements between professional sports leagues and broadcast television providers were found to
be horizontal agreements in violation of the Sherman Act, See United States v. Nari’onal Football
League, 196 F. Supp. 445 (E_D_ Pa_ 1961). However, following the Nai‘i'onal Football League
decision, the professional sports leagues successfully lobbied for the SBA, which carves out an
exemption for a clearly delineated class of such agreements

34. Under the SBA, 15 U.S.C. § 1291, the antitrust laws “shall not apply to any joint
agreement [concerning] organized professional team sports of football, baseball, basketball, or
hockey . . . in the sponsored telecasting of the games of football, baseball, basketball, or hockey_”
“Sponsored telecasting”, as provided by the SBA, pertains only to broadcast television and does
not apply to non-exempt channels of distribution such as cable television, pay-per-view, and
satellite television networks
B. Califomia Antitrust Laws

35. Califomia has chosen to provide state-level protection against unlawtiil restraints on
trade for the benefit of its citizens via the Cartwright Act, Cal. Bus. & Prof. Code § 16700, et seq.
The Cartwright Act, like the Sherman Act, prohibits agreements to, inter alia, restrict trade, reduce
production, prevent competition, and fix pricing Cal. Bus. & Prof. Code § 16720. Furthermore,
the Cartwright Act provides that individuals injured by antitrust violations may bring a private
cause of action to remedy those violations Cal. Bus. & Prof. Code § 16750.

36. California’s antitrust laws, however, expressly permit private individuals to proceed

against antitrust violators for treble damages “whether such injured person dealt directly or

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indirectly with the defendant.” Cal_ Bus. & Prof. Code § 16750(a).
C. The Califomia Unfair Competition Laws

37. Califomia Business & Professions Code § 17200, er seq., also known as the Unfair
Practices Act, provides that “unfair competition shall mean and include any unlawful, unfair, or
fraudulent business act or practice.” Unlawful acts include any act that is unlawful under statute,
rule, or court order and that is conducted as part of any business activity.

38. Pursuant to Business & Professions Code § 17203, “the court may make such
orders or judgments including the appointment of a receiver, as may be necessary to prevent the
use or employment by any person of any practice which constitutes unfair competition, as defined
in this chapter, or as may be necessary to restore to any person in interest any money or property,
real or personal, which may have been acquired by means of such unfair competition.”

VI.
FACTUAL BACKGROUND

39. The NBA is currently comprised of twenty-nine independently owned and operated
professional basketball teams, which have joined the NBA in order to compete in the professional
basketball league that it operates

40. Each of the twenty-nine NBA professional basketball teams is franchised by the
NBA. In addition to Defendants, those franchise teams operate under the following names:
Boston Celtics, Miami Heat, New Jersey Nets, Orlarido Magic, Philadelphia 76ers, Washington
Wizards, Atlanta Hawks, Charlotte Homets, Cleveland Cavaliers, Detroit Pistons, Indiana Pacers,
Milwaukee Bucks, Toronto Raptors, Dallas Mavericks, Denver Nuggets, Houston Rockets,
Minnesota Timberwolves, San Antonio Spurs, Vancouver Grizzlies, Golden State Waniors,
Phoenix Suns, and Seattle SuperSonics These twenty-nine teams shall be collectively referenced
herein as “NBA Teams." Each NBA Team is an independent business entity. They compete with
one another with respect to, inter alia, the acquisition of players, coaches, and management
personnel. Each NBA Team derives separate revenues from local television and radio, parking,

concessions and box seating No NBA Team shares its team’s expenses capital expenditures

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CLASS ACTION COMPLAIN'I` 343356.2

 

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prolits, or losses with any other NBA Team.

4l. NBA Teams have authorized the NBA, through its Board of Govemors and
Commissioner, and/or NBA Properties, lnc. to contract on their behalf for the live video telecasting
of certain regular season and post-season games

42. Each NBA Team has agreed to not to compete in the sale of rights for the live video
telecasting of regular season games The NBA Teams have, pursuant to the aforementioned Sports
Broadcasting Act, jointly agreed to sell the rights to selected regular season games to the NBA to
sell to television networks for over-the-air broadcasting The NBA Teams have also jointly agreed
to sell rights to other selected regular season games to the TNT or TBS stations for national cable
broadcasting Prior to the 1994-95 season, with the exception of these games, the NBA Teams
agreed that, With few specified exceptions, no regular season games could be shown in any
geographic market except those licensed by the NBA Team in that area.

43. In our increasingly mobile society, a significant number of NBA consumers,
including many members of the classes that Plaintiffs seek to represent, grew up and developed
strong loyalties to NBA Teams in certain geographic markets These consumers wish to view the
out-of-market games from certain geographic markets but do not wish to purchase the out-of-
market games from other geographic markets

44_ Beginning in the 1994-95 NBA season, the NBA Teams, the NBA, and NBA
Properties, Inc. - seeking to exploit the market described in paragraph 43 as well as the demand of
some residential and commercial establishments for access to many out-of-market games - agreed
to sell jointly their broadcast rights to purchasers of satellite television programming at artificially
inflated prices The NBA Teams, the NBA1 and NBA Properties, Inc_ made available for purchase
as a package to residential and commercial satellite dish owners broadcasts of up to forty out-of-
market regular season NBA games per week and more than 1000 regular season games per year.
This package is called the “NBA League Pass.”

45_ The NBA Teams, the NBA, and NBA Properties, lnc. have agreed that “NBA

League Pass” is the exclusive means by which out-of-market games may be licensed for viewing by

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satellite by individual consumers or commercial establishments Individual teams are prohibited, by
mutual agreement, from distributing their games outside their assigned geographic territory by any
means except the “NBA League Pass," for which consumers must pay a fixed subscription price for
the entire package As of November 2, 1999, the fixed subscription price of the “NBA League
Pass” for the following basketball season was as follows: (1) residential use - $169; (2) commercial
use - $599 - $7499 depending upon fire occupancy code capacity

46. The substantial terms of the continuing agreement and conspiracy among the
Defendants were to fix, raise, stabilize, and maintain prices for the rights to, and to restrict the
output of, video broadcasts of NBA games

47_ The NBA Teams, the NBA, and NBA Properties, Inc., have contracted with
Defendant DirecTV to provide the “NBA League Pass” to residential and corrunercial owners of a
C-band or Ku-band DSS satellite dish antenna

48. Defendants NBA and NBA Properties, Inc. and the NBA Teams, in contracting with
DirecTV, exercise significant control over the market for these games and for the consumer cost of
“NBA League Pass”

49. The NBA Teams and Defendants NBA and NBA Properties, Inc. and DirecTV have
agreed to “black out” the re-broadcast of NBA games shown on regional sports networks except
for those games shown within the designated territory of the NBA Teams involved in each
particular game

50. The agreement to restrain the sale of rights to any NBA game outside of the team’s
assigned geographic territory except through “NBA League Pass” is not reasonably necessary to
achieve any legitimate business objective An exclusive agreement is not necessary to assure the
viability of “NBA League Pass,” but only serves to artificially raise the price paid, reduce output,
and render output unresponsive to consumer demand The system of exclusive geographic
territories is not necessary to preserve the viability of any individual NBA Team in attracting fans to
live games, but only serves to artificially increase prices The system of exclusive territories is not

necessary to preserve the quality and attractiveness of NBA games by promoting competitive

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balance among NBA teams as this concern could be addressed, as it is in Major League Baseball,
by a system of revenue-sharing In sum, the NBA Teams have no basis to design the system of
exclusive territories in order to preserve incentives for NBA Teams to vigorously promote NBA
games within their local territory

51. For the purpose of formulating and effectuating this contract, combination, and
conspiracy, Defendants and their co-conspirators have done, among other things, the following: (a)
Agreed to divide North America into exclusive geographic territories for the sale of broadcast
rights to regular season NBA games; (b) Contracted and agreed to restrict the output of the
broadcasts of their games in non-exempt channels of distribution; (c) Agreed to sell their broadcast
rights to purchasers of satellite television programming exclusively through a single, jointly
developed product, “NBA League Pass,” at prices significantly in excess of those that consumers
would pay; and (d) Agreed and conspired to distribute these broadcasts to satellite dish owners on
an exclusive basis through DirecTV thereby limiting and restricting competition at the consumer
level.

VII.
FIRST CAUSE OF ACTION
Violation of the Sherman Act, § 1
(On Behalf of All Plaintiff`s and Classes)

52. Plaintiffs reallege and incorporate by reference as if specifically set forth herein
Paragraphs 1 through 51 inclusive

53_ Beginning in or about 1994 and continuing through the present, Defendants and
their co-conspirators entered into and engaged in a continuing contract, combination, and
conspiracy in unreasonable restraint of interstate trade and commerce in violation of the Sherman
Act.

54. Participating in that continuing contract, combination, and conspiracy were
Defendants and each of the NBA Teams listed in paragraph 40 above

55. The continuing contract, combination, and conspiracy concerned or restrained the

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CLASS ACTION COMPLAINT 343356.2

 

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trade and/or commerce of satellite broadcasting of NBA professional basketball games through
“NBA League Pass” throughout the United States, including this District. The NBA Teams are
located in, and communicate between, varying states throughout the United States The DirecTV
satellite broadcasts are transmitted nationwide This conduct was, therefore, within the flow of,
and had a substantial effect on, interstate commerce

56. The aforesaid contract, combination, and conspiracy consisted of a continuing
agreement and conspiracy among Defendants and their co-conspirators, the substantial terms of
which were to fix, raise, stabilize, and maintain prices for the rights to, and restrict the output of,
live video broadcasts of NBA professional basketball games through non-exempt channels of
distributionl

57. For the purpose of formulating and effectuating this contract, combination, and
conspiracy, Defendants and their co-conspirators have done, among other things, the following: (a)
Defendants NBA, NBA Properties, Inc., and each of the NBA Teams contracted and agreed to set
the prices at which the NBA1 and the NBA Teams, would sell their broadcast rights through “NBA
League Pass” and contracted and agreed to restrict the output of the broadcasts of tl eir games in
non-exempt channels of distribution; (b) Defendants and their co-conspirators agreed to jointly sell

their exclusive broadcast rights to purchasers of satellite television programming at hi y

 

competitive prices; (c) Defendants and their co-conspirators agreed to allocate amoj st themselves
from the sale of these satellite television broadcast rights; and (d) Defendants and their co-
conspirators agreed and conspired to distribute these broadcasts on an exclusive basis through
DirecTV thereby limiting and restricting competition at the consumer level.

58. The aforementioned contract, combination, and conspiracy alleged in this Complaint
has had the following elfects, among other: (a) The restraint and suppression of NBA television
broadcast rights; (b) Consumer prices have been raised, tixed, maintained, and stabilized at
artificially high and non-competitive levels', (c) The output of live video broadcasts of NBA
professional basketball games in non-exempt channels of distribution has been restricted; and (d)

Plaintiffs and other purchasers of “NBA League Pass” were deprived of the benefit of free and

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CLASS ACTION COMPLAINT 343356.2

 

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open competition

59. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff` Classes,
and each of them, have been injured in an amount continuing and presently undetermined Each has
purchased the “NBA League Pass” at artificially inflated prices Because these antitrust violations
continue today and are likely to continue in the future, Plaintiff Classes suffer from an immediate
and significant threat of and actual injury from Defendants and their co-conspirators’ violation of
the antitrust laws

60. Wherefore, Plaintiffs pray for judgment against Defendants, as set forth below,

VHI.
SECOND CAUSE OF ACTION
Vio|ation of the Sherman Act, § 2
(On Behalf of All Plaintiffs and Classes)

61_ Plaintiffs reallege and incorporate by reference as if specifically set forth herein
Paragraphs 1 through 60 inclusive

62. The relevant product market is the market for live video broadcasts or out-of-
market regular season NBA games

63. Defendant NBA, Defendant NBA Properties, Inc., Defendant DirecTV, and the
NBA Teams have by agreement reserved the exclusive satellite broadcast rights as to certain NBA
basketball games and have thereby created a product, the “NBA League Pass” They have further
agreed to offer that product as a pay service only.

64. Defendant NBA, Defendant NBA Properties, 1nc., Defendant DirecTV, and the
NBA Teams offer the reserved basketball games as the “NBA League Pass” exclusively for a fixed
and artificially inflated price, thereby conspiring to eliminate any consumer competition for this
product and forcing consumers to pay that fixed and artificially inflated price in order to obtain the
“NBA League Pass”

65. Defendants and their co-conspirators, by the above-mentioned conduct, possess

monopoly power over the reserved basketball games and have used that power for the purposes of

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CLASS ACTION COMPLAINT 343356.2

 

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unreasonably excluding and/or limiting competition These activities have gone beyond those
which could be considered as “legitimate business activities,” and are an abuse of market position
Through anti-competitive conduct described herein1 Defendants and their co-conspirators have
willfully acquired and maintained, and unless restrained by the Court will continue to willfully
maintain, that monopoly power by ami-competitive and unreasonably exclusionary conduct
Defendants and their co-conspirators have acted with an intent to illegally acquire and maintain that
monopoly power in the relevant product market, and their illegal conduct has enabled them to do
so, in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

66. Wherefore, Plaintiffs pray for judgment against Defendants, as set forth below.

lX.
'I‘HIRD CAUSE OF ACTION
Violation ol` the Cartwright Act
(On Behalf Plaintiffs Crayton, Miller1 The Beer Hunters and Classes A1 and B')

67. Plaintiffs reallege and incorporate by reference as if specifically set forth herein
Paragraphs l through 66 inclusive

68, Beginning in or about 1994 and continuing through the present, Defendants and
their co-conspirators entered into and engaged in a continuing contract, combination, conspiracy,
and/or monopoly in restraint of interstate trade and commerce in violation of the Cartwriglit Act.

69. Participating in that continuing contract, combination, conspiracy, and/or monopoly
were Defendants and each of the NBA Teams listed in paragraph 40 above

70. For the purpose of formulating and effectuating this contract, combination1
conspiracy, and/or monopoly, Defendants and their co-conspirators have done, among other things,
the following: (a) Defendants NBA and NBA Properties, Inc., and each of the NBA Teams
contracted and agreed to set the prices at which the NBA1 and each of the NBA Teams, would sell
their broadcast rights through “NBA League Pass” and contracted and agreed to restrict the output
of the broadcasts of their games in non-exempt channels of distribution; (b) Defendants and their

co-conspirators agreed to jointly sell their exclusive broadcast rights to purchasers of satellite

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CLASS ACTION COMPLAINT 343356.2

 

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television programming at highly competitive prices; (c) Defendants and their co-conspirators
agreed to allocate amongst themselves from the sale of these satellite television broadcast rights;
and (d) Defendants and their co-conspirators agreed and conspired to distribute these broadcasts on
an exclusive basis thereby limiting and restricting competition at the consumer level.

71. The aforementioned contract, combination, conspiracy, and/or monopoly alleged in
this Complaint has had the following eff`ects, among other: (a) The restraint and suppression of
NBA television broadcast rights; (b) Consumer prices have been raised, fixed, maintained, and
stabilized at artificially high and non-competitive levels; (c) The output of live video broadcasts of
NBA professional basketball games in non-exempt channels of distribution has been restricted; and
(d) Plaintiff`s and other purchasers of “NBA League Pass” were deprived of the benefit of free and
open competition

72_ As a direct and proximate result of Defendants’ wrongde conduct, Plaintiff Classes,
and each of them, have been injured in an amount continuing and presently undetermined Each has
purchased the “NBA League Pass” at artificially inflated prices Because these antitrust violations
continue today and are likely to continue in the future, Plaintiff Classes suffer from an immediate
and significant threat of and actual injury from Defendants and their co-conspirators’ violation of
the antitrust laws.

73. Wherefore, Plaintifi`s pray forjudgment against Defendants, as set forth below.

X.
FOURTH CAUSE OF ACTION
Violation of the Unl'air Competition Act
(On Behalt` Plaintiffs Crayton, Miller, The Beer Hunters and Classes A1 and Bl)

74. Plaintiffs reallege and incorporate by reference as if specifically set forth herein
Paragraphs l through 73 inclusive

75. Defendants have, in the course of their respective businesses, engaged in a
conspiracy to restrain trade and/or to form a monopoly, as described above. This conduct is unfair,

fraudulent, and/or unlawful in violation Of the Unfair Competition Act_

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76. The conduct described above offends established public policy and is immoral and/or
unethical. Consequently, Defendants have engaged in and continue to engage in unfair business
practices in violation of the Unfair Competition Act.

77. The conduct described above is contravened by the Sherman and Cartwright Acts
and Defendants have, therefore, engaged in an unlawful business practice in violation of the Unfair
Competition Act,

78. On information and belief, Defendants’ conduct is likely to deceive the people of the
State of Califomia and the general public and Defendants have, therefore, engaged in a fraudulent
business practice in violation of the Unfair Competition Act,

79. Wherefore, Plaintiffs pray for judgment against Defendants, as set forth below.

XI.
PRAYER FOR RELIEF

WHEREFORE, Plaintiffs Crayton and Miller and Class A pray as follows:

l. That the Court adjudge, decree, and declare that in connection with their joint and
exclusive sale of television rights through “NBA League Pass” Defendants and their co-
conspirators have engaged in unlawfi.il contract, combination, conspiracy, and/or monopoly in
violation of the Sherman Act',

2. That the Court enjoin the continuation of the unlawful contract, combination,
conspiracy, and/or monopoly;

3. That the Court grant certification of the class',

4. That Plaintiffs and members of the Class recover an award of compensatory and
treble damages in favor of Plaintiffs and members of the Class with pre-judgment and post-
judgment interest as provided by law;

5. That Plaintiffs recover their costs of this suit and reasonable attomeys’ fees, as
provided by law; and

6. That Plaintiffs and members of the Class be granted such other and further relief as

the Court may deem just and proper under the circumstances

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CLASS ACTION COMPLA[NT 343356.2

 

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WHEREFORE, Plaintiii`s Crayton and Miller and Class A' pray as follows:

1. That the Court adjudge, decree, and declare that in connection with theirjoint and
exclusive sale of television rights through “NBA League Pass” Defendants and their co-
conspirators have engaged in unlawful contract, combination, conspiracy, and/or monopoly in
violation of the Cartwright Act;

2. That the Court enjoin the continuation of the unlawtiil contract, combination,
conspiracy, and/or monopoly;

3. That the Court order Defendants to pay to Plaintiffs and members of the Class
restitution, disgorgement, and be subject to such other relief as may be necessary to restore to any
person in interest any money or property, real or personal, which may have been acquired by means
the acts alleged herein, plus pre-judgment and post-judgment interest where applicable and as
provided by law;

4. That Plaintiffs and members of the Class recover compensatory and treble damages
pursuant to the Cartwright Act with pre-judgment and post-judgment interest as provided by law;
S. That Plaintiff`s and members of the Class recover their costs of this suit and

including reasonable attomeys’ fees; and

6_ That Plaintiffs and members of the Class be granted such other and further relief as
the Court may deem just and proper under the circumstances

WHEREFORE, Plaintiffs The Beer Hunters and Class B pray as follows:

1. That the Court adjudge, decree, and declare that in connection with their joint and
exclusive sale of television rights through “NBA League Pass” Defendants and their co-
conspirators have engaged in unlawful contract, combination, conspiracy, and/or monopoly in
violation of the Sherman Act;

2. That the Court enjoin the continuation of the unlawful contract, combination,
conspiracy, and/or monopoly;

3. That the Court grant certification of the class',

4. That Plaintift`s and members of the Class recover an award of compensatory and

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CLASS ACTION COMPLAINT 343356.2

 

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treble damages in favor of`Plaintins and members of the Class with pre-judgment and post-
judgment interest as provided by law;

5. That Plaintiffs recover their costs of this suit and reasonable attomeys’ fees, as
provided by law; and

6. That Plaintiffs and members of the Class be granted such other and further relief as
the Court may deem just and proper under the circumstances

WHEREFORE, Plaintiffs The Beer Hunters and Class Bl pray as follows:

l. That the Court adjudge, decree, and declare that in connection with their joint and
exclusive sale of television rights through “NBA League Pass” Defendants and their co-
conspirators have engaged in unlawtir| contract, combination, conspiracy, and/or monopoly in
violation of the Cartwright Act;

2. That the Court enjoin the continuation of the unlawiirl contract, combination,
conspiracy, and/or monopoly;

3. That the Court order Defendants to pay to Plaintiff`s and members of the Class
restitution, disgorgement, and be subject to such other relief as may be necessary to restore to any
person in interest any money or property, real or personal, which may have been acquired by means
the acts alleged herein, plus pre-judgment and post-judgment interest where applicable and as
provided by law;

4. That Plaintitfs and members of the Class recover compensatory and treble damages
pursuant to the Cartwright Act with pre-judgment and post-judgment interest as provided by law;
5. That P|aintiff`s and members of the Class recover their costs of this suit and

including reasonable attomeys’ fees; and

6. That Plaintiffs and members of the Class be granted such other and further relief as
the Court may deem just and proper under the circumstances
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Y TRIAL DEMANDEI)
PlaintiH`s, individually and on behalf of the members of the respective Classes, request a jury

trial in this matter

DATED: August l, 2000 'I'HORSNES BARTOLOTTA & McGUIRE

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PALMA CESAR HOOPER
DARAL B. MAZZARELLA
KAREN R. FROSTROM

GRAYSON, HOVENKAMP & PETROSKI, P.L.L.C.
MARK A. HOVENKAMP, ESQ.

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Attomeys for Plaintifi`s

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CLASS ACTION COMPLAINT

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bylaw except as provided by local rules of court. This form approved by the Judicial Conference of the United States 1n September 1974,15 required for the use
of the Cierk of Court for the purpose of initiating the civil docket sheet (SEE iNSTRUCTIONS ON THE REVERSE OF THE FORM.)

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